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                                   NOTICE OF HEARING




                     UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT


Garrett Sitts, et al.,

          v.                                      Case No. 2:16-cv-287

The Dairy Farmers of America, Inc., et al.


TAKE NOTICE that the above-entitled case has been scheduled at 9:30 a.m., on, Tuesday,
September 1, 2020, in Burlington, Vermont, before Honorable Christina Reiss, District
Judge, for a Charge Conference via video conference.



Location: Courtroom 510                          JEFFREY S. EATON, Clerk
                                                 By: /s/ Jennifer B. Ruddy
                                                 Deputy Clerk
                                                 8/12/2020



TO: Dana A. Zakarian, Esq.                       The court has allotted a full day for this hearing.
Elizabeth Reidy, Esq.
Gary Franklin, Esq.
Joel Beckman, Esq.
William Nystrom, Esq.
Michael Paris, Esq.
Ian Carleton, Esq.
Jennifer Giordano, Esq.
Sarah Ray, Esq.
Molly Barron, Esq.
Margaret Zwisler, Esq.
W. Todd Miller, Esq.
Elyse Greenwald, Esq.
Alfred Pfeiffer, Jr., Esq.
Johanna Masse, Court Reporter
